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                    IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                         DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
                      v.                       )       Case No. 3:20-cr-0035
                                               )
CHRISTOPHER VERA,                              )
                                               )
                      Defendant.               )
                                           ORDER
        BEFORE THE COURT is the Report and Recommendation of the magistrate judge
recommending that the Court accept Christopher Vera’s (“Vera”) plea of guilty (ECF No. 17)
to Count One of the Information. After conducting a de novo review of the record and
pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the Court finds that
Defendant Vera entered his guilty plea knowingly and voluntarily, and that there was a
factual basis for the plea. The Court, therefore, will adopt the Report and Recommendation
and find Vera guilty as to Count One of the Information. Accordingly, it is hereby
        ORDERED that the Report and Recommendation (ECF No. 17) is ADOPTED; it is
further
        ORDERED that Defendant Christopher Vera’s plea of guilty as to Count One of the
Information is ACCEPTED, and that Defendant Vera is adjudged GUILTY on that count; it is
further
        ORDERED that, pursuant to Fed. R. Crim. P. 32(c)(1)(A), the U.S. Probation Office shall
conduct a presentence investigation for the preparation of a presentence report; it is further
        ORDERED that the U.S. Probation Office shall disclose the preliminary presentence
report to the parties no later than December 7, 2020; it is further
        ORDERED that the parties shall submit any objections or corrections to the
preliminary presentence report to the U.S. Probation Office no later than December 21, 2020;
it is further
        ORDERED that the U.S. Probation Office shall disclose the final presentence report to
the parties and the Court no later than January 19, 2021; it is further
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       ORDERED that the parties shall file their sentencing memoranda no later than
February 2, 2021; it is further
       ORDERED that a sentencing hearing shall be held on Thursday, February 18, 2021, at
9:00 A.M. in STT Courtroom No. 1.

Date: October 19, 2020                         /s/_Robert A. Molloy_________
                                               ROBERT A. MOLLOY
                                               District Judge
